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Exhibit 11
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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

NOTICE OF APPEAL PANEL DECISION
DATE OF NOTICE: September 19, 2013

I, CLAIMANT AND CLAIM INFORMATION

Last/Name of Business First Middle
Claimant Name ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. APPEAL PANEL DECISION

The Economic and Property Damages Settlement Agreement (“Settlement Agreement”) written by Class Counsel
and BP requires the Claims Administrator to designate an Appeals Coordinator to coordinate the Appeals Process.
This Notice is an official communication from the Appeals Coordinator and relates to the claim identified in Section
I. BP or the claimant appealed this claim, and the Appeals Coordinator submitted the claim for Appeal Panel
review. The Appeal Panel has completed its review of the Appeal and has reached a final decision on the claim.
The details of the Appeal Panel's decision are below, as well as any comment left by the Appeal Panel:

Proposal Chosen
Compensation Amount $142,576.07 Claimant
Risk Transfer Premium Multiplier 0.25 Claimant
Prior Payment Offset $28,700.52 Claimant

The Compensation Amount awarded by the Appeal Panel will appear in Section II, line 1 of your Post-Appeal
Eligibility Notice. We will increase this Compensation Amount by the applicable Risk Transfer Premium, if any, and
also decrease this Compensation Amount by any applicable offsets to determine your Award Amount. If the
claimant prevailed upon appeal, the pre-Risk Transfer Premium Compensation Amount will be increased by 5%. If
we have received notice of any outstanding lien, we will also deduct that applicable amount from your Award
Amount.

The Appeal Panel’s decision will stand as the Settlement Program's final determination on this claim.
III. APPEAL PANEL COMMENT

BP asserts the Settlement Program erred by failing to apply financial data corrections to the periods in which the
financial data reporting errors occurred. BP asserts that the measurement unit is the month, and therefore P&L's
must be accurate on a monthly basis and corrections should similarly be applied. Said assertions are contrary to
the decisions and orders of the Claims Administrator and the Court, and are contrary to the language and spirit of
the Settlement Agreement. Accordingly, the appeal is due to be denied, and the decision of the Settlement
Administrator is due to be affirmed.

IV. HOW TO CONTACT US WITH QUESTIONS OR FOR HELP

For questions about this Notice of Appeal Panel Decision or the status of your other claim(s), contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
claims preparation company, you should call or email your designated DWH Contact for help or assistance. You
may also visit a Claimant Assistance Center for help. For a complete list of Claimant Assistance Centers, go to
www.deepwaterhorizoneconomicsettlement.com.

APP-19 v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID; 100002412
UME AN A NT Page 1 of 1 ROCON cadik@p: 1779

